                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:05CV425-1-MU
                                   3:95CR5-MU



MARC PIERRE HALL,                   )
                                    )
            Petitioner,             )
                                    )
            v.                      )                         ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER comes before the Court upon Petitioner's Application for a Writ of

Habeas Corpus pursuant to 28 U.S.C. § 2241, transferred from the United States District Court of

Connecticut by Order filed September 9, 2005.

       After reviewing Petitioner’s § 2241 petition, this Court concurs with the United States

District Court for the District of Connecticut’s conclusion that Petitioner’s filing is most properly

construed as a motion to vacate, set aside, or correct sentence.1

       As set forth in the United States District Court for the District of Connecticut’s

September 9, 2005, Order, Petitioner has previously filed a motion to vacate with this Court that

was dismissed with the dismissal being affirmed on appeal. In addition, the United States Court

of Appeals for the Fourth Circuit has denied motions by Petitioner to file a second or successive



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         This Court finds that the Court of Appeals for the Fourth Circuit’s recent decision in
United States v. Emmanuel, 288 F.3d 644 (4th Cir. 2002), is distinguishable because, unlike in
the Emmanuel case, this would not be Petitioner’s first § 2255 motion. Id. at 650 (no notice
required where recharacterization has no adverse impact on movant).


       Case 3:95-cr-00005-FDW           Document 657        Filed 10/25/05      Page 1 of 3
motions to vacate. As Petitioner is well aware, under the Antiterrorism and Effective Death

Penalty Act (AEDPA), "a second or successive motion must be certified . . . by a panel of the

appropriate court of appeals. . ." 28 U.S.C. § 2255 (1997). Therefore, because this is not

Petitioner’s first motion to vacate, set aside, or correct sentence, the Petitioner must first certify

his claim with the Fourth Circuit Court of Appeals before he can file his successive claim in this

District Court.

        THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence is DISMISSED without prejudice as successive.




                                                   2


       Case 3:95-cr-00005-FDW            Document 657         Filed 10/25/05       Page 2 of 3
                  Signed: October 25, 2005




                               3


Case 3:95-cr-00005-FDW   Document 657   Filed 10/25/05   Page 3 of 3
